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 5                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF WASHINGTON
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 7   In re:                                          NO: CV-11-365-RMP
                                                         CV-12-479-RMP
 8            LLS AMERICA, LLC,
                                                     Bankruptcy No: 09-06194-PCW11
 9                              Debtor.
                                                     Adversary No: 11-80294-PCW11
10
                                                    ORDER CONSOLIDATING CASES
11   BRUCE P. KRIEGMAN, solely in his
     capacity as court-appointed Chapter 11
12   Trustee for LLS America LLC,

13                              Plaintiff,

14   vs.

15   NICHOLAS BLEA., et al.,

16                              Defendants.

17            It has come to the attention of the Court that CV-11-365-RMP and CV-12-

18   479-RMP are both actions that arose as a result of motions to withdraw of

19   reference to 11-80294-PCW. Accordingly, both CV-11-365-RMP and CV-12-

20   479-RMP refer to the same cause of action that arises out of the same adversary


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 1   complaint. The Court concludes that efficiency and clarity are best served by

 2   having only one case number to refer to a single adversary action. Accordingly,

 3   the Court will consolidate CV-11-365-RMP and CV-12-479-RMP.

 4         Accordingly, IT IS HEREBY ORDERED:

 5         1. Case No. CV-11-365-RMP shall be CONSOLIDATED WITH Case No.

 6            CV-12-479-RMP.

 7         2. Pursuant to the practice in this District to consolidate cases under the

 8            first-filed case, ALL FUTURE FILINGS SHALL BE FILED UNDER

 9            CASE NUMBER CV-11-365-RMP.

10         IT IS SO ORDERED.

11         The District Court Executive is hereby directed to enter this Order, to

12   provide copies to counsel, and to close the file for CV-12-479 in this District.

13         DATED this 1st day of November 2012.

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15                                                s/ Rosanna Malouf Peterson
                                             ROSANNA MALOUF PETERSON
16                                          Chief United States District Court Judge

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     ORDER CONSOLIDATING CASES ~ 2
